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PROB12A1                 UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF CALIFORNIA

                     REPORT OF OFFENDER NON-COMPLIANCE


Offender Name:                   Marc TARVER

Docket Number:                   2:03CR00042-09

Offender Address:                Bakersfield, California

Judicial Officer:                Honorable Frank C. Damrell, Jr.
                                 United States District Judge
                                 Sacramento, California

Original Sentence Date:          January 24, 2005

Original Offense:                18 USC 1962(d) - Conspiring to Conduct the Affairs of
                                 an Enterprise Through a Pattern of Racketeering
                                 Activity
                                 (CLASS C FELONY)

Original Sentence:               27 months Bureau of Prisons; 36 months supervised
                                 release; $100 special assessment; mandatory testing

Special Conditions:              Warrantless search and seizure; financial disclosure;
                                 drug testing; co-payment; DNA collection

Type of Supervision:             Supervised Release

Supervision Commenced:           January 28, 2005

Assistant U.S. Attorney:         R. Steven Lapham, Philip A. Ferrari, Kenneth J. Melikian
                                                          Telephone: (916) 554-2700

Defense Attorney:                Lindsay A. Weston         Telephone: (530) 756-7774

Other Court Action:              None




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RE:    Marc TARVER
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       REPORT OF OFFENDER NON-COMPLIANCE




                             NON-COMPLIANCE SUMMARY

The purpose of this report is to advise the Court of an alleged violation of the terms of
supervision. The Probation Officer has developed a plan to dispose of the alleged
non-compliance with action less than revocation, and the Court is requested to approve the
plan to address the non-compliance.


1.     MISSED TESTING APPOINTMENT(S)


Details of alleged non-compliance: The defendant failed to report to Turning Point on
August 22, 2005, and September 10, 2005, as required by special condition number 3
stating he shall participate in a program of testing to determine if he has reverted to the use
of drugs.


United States Probation Officer Plan/Justification: Regarding the aforementioned
failures to report for testing, the defendant stated he was unable to show for testing due
to a lack of transportation. However, he agreed to comply with increased testing
requirements in order to resolve his violation conduct.

Considering the defendant appears to have remained clean and sober since the
commencement of supervision and has expressed a willingness to comply with increased
testing requirements, the probation officer recommends no negative action be taken at the
present time. Should the defendant again find himself at variance from the terms and
conditions of supervision, the probation officer will immediately notify the Court.




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RE:    Marc TARVER
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       REPORT OF OFFENDER NON-COMPLIANCE


                                   Respectfully submitted,

                                          /s/ R. Walters

                                      R. WALTERS
                              United States Probation Officer
                                Telephone: (661) 861-4305

DATED:          October 6, 2005
                Bakersfield, California



REVIEWED BY:                 /s/ Rick C. Louviere
                       RICK C. LOUVIERE
                       Supervising United States Probation Officer



THE COURT ORDERS:

(x )   The Court Approves Probation Officer's Plan, and Orders No Further Action Be
       Taken At This Time.

( )    Submit a Request for Modifying the Conditions or Term of Supervision.

( )    Submit a Request for Warrant or Summons.

( )    Other:

October 11, 2005                                           /s/ Frank C. Damrell Jr.
Date                                                       Signature of Judicial Officer




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RE:   Marc TARVER
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cc:   United States Probation
      R. Steven Lapham, Philip A. Ferrari, Kenneth J. Melikian,
      Assistant United States Attorney Office
      Lindsay A. Weston, Assistant Federal Defender

Attachment: Presentence Report




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